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   9 White, Robert L. Adler, Mark Clarke,
     William J. Scilacci, Bertrand A. Valdman
  10 and Nominal Defendant Edison
     International
  11
  12                            UNITED STATES DISTRICT COURT
  13             CENTRAL DISTRICT OF CALIFORNIA-WESTERN DIVISION
  14 NATALIE GORDON, Derivatively on               Case No. 14-CV-01058-ODW (ASx)
     Behalf of Nominal Defendant EDISON
  15 INTERNATIONAL,                                NOTICE OF MOTION AND
                                                   MOTION TO DISMISS AMENDED
  16               Plaintiff,                      SHAREHOLDER DERIVATIVE
                                                   COMPLAINT PURSUANT TO
  17        v.                                     FRCP RULES 12(b)(6) AND 23.1;
                                                   MEMORANDUM OF POINTS AND
  18 JAGJEET S. BINDRA, FRANCE A.                  AUTHORITIES
     CORDOVA, BRADFORD M.
  19 FREEMAN, RONALD L. OLSON,                     [Request for Judicial Notice filed
     THOMAS C. SUTTON, PETER J.                    concurrently]
  20 TAYLOR, VANESSA C. L. CHANG,
     THEODORE F. CRAVER, JR., LUIS
  21 G. NOGALES, RICHARD T.
     SCHLOSBERG, III, BRETT WHITE,
  22 ROBERT L. ADLER, MARK
     CLARKE, WILLIAM J. SCILACCI
  23 and BERTRAND A. VALDMAN,
  24               Defendants.                     Date: June 16, 2014
                                                   Time: 1:30 p.m.
  25        and                                    Crtrm.: 11
                                                   Judge: Honorable Otis D. Wright II
  26 EDISON INTERNATIONAL,
  27               Nominal Defendant.
  28
                                NOTICE OF MOTION AND MOTION TO DISMISS
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   1 TO THE PARTIES HERETO AND THEIR COUNSEL OF RECORD:
   2            PLEASE TAKE NOTICE that on June 16, 2014 at 1:30 p.m., or as soon
   3 thereafter as counsel may be heard, in the Courtroom of the Honorable Otis D.
   4 Wright II, located at 312 North Spring Street, Los Angeles, California, Defendants
   5 Jagjeet S. Bindra, France A. Córdova, Bradford M. Freeman, Ronald L. Olson,
   6 Thomas C. Sutton, Peter J. Taylor, Vanessa C. L. Chang, Theodore F. Craver, Jr.,
   7 Luis G. Nogales, Richard T. Schlosberg, III, Brett White, Robert L. Adler, Mark
   8 Clarke, William J. Scilacci, Bertrand A. Valdman and Nominal Defendant Edison
   9 International will and hereby do move to dismiss the Amended Shareholder
  10 Derivative Complaint in the above-referenced action in its entirety.
  11            This motion is made pursuant to Rule 12(b)(6) and Rule 23.1 of the Federal
  12 Rules of Civil Procedure on the ground that Plaintiff failed to make a pre-suit
  13 demand prior to filing this derivative lawsuit and such a demand is required and not
  14 excused and pursuant to Rule 12(b)(6) on the ground that Plaintiff’s claim for
  15 breach of fiduciary duties based on the “dividend payments” fails to state a claim on
  16 which relief can be granted because it is time-barred.
  17            This Motion is based on this Notice of Motion and Motion, the Memorandum
  18 of Points and Authorities attached hereto, the Request for Judicial Notice filed
  19 concurrently herewith, the pleadings and records on file in this action, and such
  20 additional authority and argument as may be presented in Reply or at a hearing on
  21 this Motion.
  22            This Motion is made following the conference of counsel pursuant to Local
  23 Rule 7-3, which took place on April 29, 2014.
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   1 Dated: May 9, 2014                Respectfully submitted,
                                       MUNGER, TOLLES & OLSON LLP
   2
   3                                   By:              /s/John w. Spiegel
   4                                                     John W. Spiegel

   5                                   Attorneys for Defendants Bindra, Córdova,
   6                                   Freeman, Olson, Sutton, Taylor, Chang, Craver,
                                       Nogales, Scholosberg, White, Adler, Clarke,
   7                                   Scilacci and Valdman and Nominal Defendant
   8                                   Edison International

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    1                       MEMORANDUM OF POINTS AND AUTHORITIES
    2 I.             INTRODUCTION AND SUMMARY OF ARGUMENT.
    3                In this shareholder derivative action seeking to recover damages on behalf of
    4 Nominal Defendant Edison International (“EIX”), Plaintiff sues the individual
    5 Defendants, who are officers and directors of EIX. Plaintiff asserts that the
    6 individual Defendants breached fiduciary duties of loyalty and good faith they owed
    7 to EIX by allegedly knowingly causing EIX’s wholly-owned indirect subsidiary
    8 Edison Mission Energy (“EME”) to make certain “dividend” and “tax sharing”
    9 payments to other EIX-affiliated entities, when, Plaintiff contends, no such
   10 payments were owed by EME, and Plaintiff alleges that these allegedly “improper”
   11 payments to EIX caused EIX to sustain damages. Plaintiff’s breach of fiduciary
   12 duties claim and this derivative action should be dismissed for Plaintiff’s failure to
   13 have made a pre-suit demand on EIX’s board of directors.
   14                The key principle underlying a court’s analysis of a pleading asserting a
   15 derivative claim is that the corporation’s directors are entitled to a presumption that
   16 they were faithful to their duties. F.R.Civ.P. Rule 23.1 therefore requires that “‘[a]
   17 shareholder seeking to vindicate the interests of a corporation through a derivative
   18 suit must first demand action from the corporation’s directors or plead with
   19 particularity the reasons why such demand would have been futile.” Hawaii
   20 Laborers Pens. Fund, etc., v. Farrell, 2007 WL 5255035, at *3 (C.D. Cal. Aug. 23,
   21 2007) (Wright, J.) (quoting In re Silicon Graphics, Inc., Sec. Litig., 183 F.3d 970,
   22 989 (9th Cir. 1999)). The purpose of pre-suit demand is to ensure that the
   23 shareholder affords the corporation an opportunity to address an alleged wrong
   24 without litigation, to decide whether to invest the resources of the corporation in
   25 litigation, and to control any litigation that does occur. For this reason, the
   26 requirement that a derivative plaintiff make a demand is excused only under
   27 “extraordinary conditions.”
   28                “[T]o evaluate . . . [a plaintiff’s] demand futility claim, the court must be
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    1 apprised of facts specific to each director from which it can conclude that the
    2 particular director could or could not be expected to fairly evaluate the claims of the
    3 shareholder plaintiff.” Potter v. Hughes, 546 F.3d 1051, 1058 (9th Cir. 2008)
    4 (internal quotes and citation omitted; emphasis added). To show demand futility, a
    5 plaintiff must allege with particularity facts showing that a majority of the board
    6 lacks independence or is otherwise incapable of validly exercising its business
    7 judgment. When a plaintiff has not made a pre-suit demand and the complaint fails
    8 adequately to plead “futility,” the complaint should be dismissed.
    9                Here, Plaintiff does not allege that she made a demand on EIX’s board of
   10 directors before bringing this lawsuit, instead asserting a demand would have been
   11 “futile.” But Plaintiff does not come close to satisfying the requirement for pleading
   12 “with particularity” facts as to “each director” showing that pre-suit demand should
   13 be excused. Indeed, Plaintiff does not allege any facts showing involvement of any
   14 director Defendant in a decision for EME to make the dividend payments or the tax
   15 sharing payment, or any facts that any director even knew about, let alone acted in a
   16 way to bring about, the dividend or tax payments. Moreover, “[d]emand will be
   17 excused only if the plaintiff’s allegations show that the defendants’ actions were so
   18 egregious that a substantial likelihood of director liability exists.” Silicon Graphics,
   19 183 F.3d at 990 (internal quotes and citation omitted). Here, Plaintiff has not pled
   20 any facts showing that any director faces any liability on Plaintiff’s claims. Plaintiff
   21 therefore has failed to plead “with particularity” facts showing that her failure to
   22 have made a demand on EIX’s board of directors is excused. In addition, Plaintiff’s
   23 claim based upon allegedly improper dividend payments, which were made and
   24 publicly disclosed six years before this action was filed, is clearly time barred. For
   25 all of these reasons, this action should be dismissed.
   26 II.            PLAINTIFF’S ALLEGATIONS AND CLAIMS.
   27                A.    The Parties.
   28                Nominal Defendant EIX is a California corporation that, through its
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    1 subsidiaries, generates and distributes electric power and invests in transportation
    2 infrastructure and energy assets. ¶20.1 The individual Defendants are officers
    3 and/or directors of EIX. ¶¶ 21-27, 29-31, 28, 32-35. At the time Plaintiff filed this
    4 lawsuit, non-Defendant Taucher was also a member of EIX’s Board of Directors
    5 (and remains a director today). ¶121.
    6                Plaintiff Natalie Gordon is a shareholder of EIX. ¶19. She is a frequent
    7 plaintiff in shareholder derivative and securities class action litigation, having been
    8 the named plaintiff in at least five other such lawsuits in which she was represented
    9 by the same law firm representing her in this action. These other lawsuits all have
   10 been dismissed.2
   11                B.    Plaintiff Challenges “Dividend” And “Tax Sharing” Payments She
   12 Alleges EIX Improperly Caused Edison Mission Energy To Make.
   13                Non-party EME is an indirect, wholly-owned subsidiary of EIX that operates
   14 as an independent power producer. ¶2. EME filed for bankruptcy on December 17,
   15 2012. ¶94.
   16                Although Plaintiff generally criticizes the relationship between EIX and
   17 EME, asserting EIX’s purported “domination and control” of its wholly-owned
   18 indirect subsidiary, her breach of fiduciary duties claim (the only claim alleged) is
   19
        1
   20     All paragraph citations are to the numbered paragraphs of the Amended Complaint. The facts
        alleged in the Amended Complaint are assumed to be true for the purpose of this Motion only.
   21   2
          See Gordon v. Goodyear, Inc., 2012 WL 2885695, at *1 (N.D. Ill. July 13, 2012) (dismissed for
   22   plaintiff’s failure to have made pre-suit demand); Gordon v. Royal Bank of Scotland Group, PLC,
        No. 09 CV 704, U.S. Dist. Ct., S.D.N.Y., filed Jan. 25, 2009 (dismissed with prejudice on
   23   defendants’ motions); Gordon v. Hastings, No. C-12- 00707, U.S. Dist. Ct., N.D. Cal., filed Feb.
        13, 2012) (dismissed by plaintiff); Gordon v. Cisco Sys., Inc., No. 1-12-CV-233209, Cal. Super.
   24   Ct., Santa Clara County, filed Sept. 28, 2012 (dismissed with prejudice pursuant to stipulation);
   25   Gordon v. Symantec, Corp., Cal. Super. Ct., Santa Clara County, No. 1-12-CV-231541, filed Sept.
        4, 2012 (dismissed with prejudice). In addition, Plaintiff in this action has also been a plaintiff in
   26   other shareholder litigation in which she was represented by other counsel, including the following
        lawsuits: e.g., In re Coca-Cola Enters., Inc., 2007 WL 3122370, at *1 (Del. Ch. Oct. 17, 2007),
   27   aff’d, 654 A.2d 910 (Del. 2008) (dismissed as time-barred); Gordon v. Hicks, No. 3:05-cv-01216-
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    1 based on her challenge to two specific transactions involving EME. As to these
    2 transactions, Plaintiff contends that the individual Defendants breached fiduciary
    3 duties they owed to EIX as its officers and directors, and Plaintiff contends these
    4 transactions caused EIX to suffer damages Plaintiff is entitled to recover on behalf
    5 of EIX. ¶1. These two transactions involve: (1) payment of $924 million in
    6 dividends Plaintiff alleges EIX caused EME to pay in 2007; and (2) a $183 million
    7 “tax sharing payment” Plaintiff alleges EIX caused EME to pay in September 2012.
    8                      1.    EME’s $924 million in dividend payments.
    9                Mission Energy Holding (“MEHC”) is an indirect subsidiary of EIX and the
   10 parent company of EME. ¶¶ 44, 45. In 2007, MEHC had outstanding promissory
   11 notes due on which it was the sole obligor. ¶¶ 55, 56. In May 2007, EME itself
   12 completed a private offering of $1.2 billion of senior notes. ¶60. In January and
   13 May 2007, EIX caused EME to use the net proceeds of this offering, together with
   14 cash that EME had on hand, to pay a total of $924 million in dividends to MEHC in
   15 order that MEHC could pay-off its own notes. ¶¶ 55-59. According to Plaintiff,
   16 these dividends “were unfair to EME because it received no consideration from
   17 MEHC from this exchange” (¶63), and, according to Plaintiff, EME’s payment of
   18 these dividends to MEHC “severely weakened EME’s financial condition.” ¶59.
   19                      2.    EME’s $183 million “tax sharing payment.”
   20                EIX, EME and other Edison-affiliated entities filed a single consolidated tax
   21 return that enabled this “Consolidated Group” to offset the taxable income of one
   22 member with losses from one another. ¶74. The terms apportioning tax expenses
   23 and benefits among the Consolidated Group were set forth in certain “Tax Sharing
   24 Agreements.” Id. As described by Plaintiff,
   25                Pursuant to the Tax Sharing Agreements, the taxable gains and losses
   26                of each subsidiary are usually calculated independently, but companies
   27                with gains who owe taxes are able to offset those gains with the losses
   28                of other companies who are party to the Tax Sharing Agreements.
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    1        Generally, this results in subsidiaries with gains being required to make
    2        payments to members of the group with operating losses as a fee for the
    3        tax payment offsets. Id.
    4        According to Plaintiff, from 2005 to 2008, EME was a net provider of EIX’s
    5 earnings and generated taxable income and tax obligations for which it made
    6 payments to EIX under the Tax Sharing Agreements. ¶78. However, by 2009,
    7 EME was performing poorly and had net losses. Id. Under the Tax Sharing
    8 Agreements, when filing tax returns EIX used EME’s net losses to shield otherwise
    9 taxable income generated by other members of the Consolidated Group. Id.
   10        On September 27, 2012, a few months before EME filed for bankruptcy in
   11 December 2012, EIX caused EME to pay EIX approximately $183 million in a tax
   12 sharing payment, which EIX paid to its indirect subsidiary Southern California
   13 Edison (“SCE”). ¶79. Plaintiff alleges “[t]he sole purpose of this transaction was to
   14 funnel cash to SCE and the EIX enterprise at the expense of EME and its creditors”
   15 (¶81) and “[t]here was no credible reason for EIX to cause EME to make this
   16 payment under the Tax Sharing Agreement.” ¶80.
   17        After causing EME to make the tax sharing payment, EIX terminated the tax
   18 sharing agreements as to EME effective December 31, 2013. ¶¶ 89, 90.
   19        C.     EME’s Bankruptcy And The Settlement Entered Into By EIX.
   20        After EME filed for bankruptcy in December 2012, in January 2013, the
   21 bankruptcy court entered an order authorizing the EME debtors (EME and certain of
   22 its subsidiaries) and its Creditors’ Committee to conduct an examination of EIX and
   23 related parties, to investigate potential claims against EIX. ¶97.
   24        In July 2013, the Creditors’ Committee filed a motion in bankruptcy court
   25 requesting the right to sue EIX to recover damages on behalf of the EME entities,
   26 claiming EIX had improperly drained EME of money. ¶99. In connection with this
   27 motion, the Creditors’ Committee filed a proposed draft complaint naming as
   28 defendants each of the individual defendants in this action. ¶100.
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    1                Under EME’s proposed plan of reorganization, almost all of EME’s assets are
    2 to be sold to NRG Energy, Inc., for $2.64 billion. ¶11. Plaintiff alleges that, upon
    3 approval of the plan, all assets and liabilities of EME that are not otherwise
    4 discharged in the bankruptcy or transferred to NRG will be transferred to a newly
    5 formed trust or entity under the control of EME’s existing creditors. ¶¶ 13, 107.
    6                On February 18, 2014, after EME proposed its plan of reorganization, but
    7 before plan confirmation, EIX, EME and a majority of EME’s creditors entered into
    8 a “Settlement Agreement” that resolves all claims between the EME entities and
    9 EIX related to the EME bankruptcy. ¶104. Under the Settlement, EME will
   10 continue to exist as an indirect wholly-owned subsidiary of EIX, and EIX will again
   11 consolidate EME with other Edison entities for income tax purposes. ¶107.
   12 According to Plaintiff, “EME is expected to have an estimated $1.2 billion of
   13 unused tax attributes, mainly net operating losses and tax credits, once EME’s
   14 reorganization is completed.” ¶13. Pursuant to the Settlement Agreement, EIX will
   15 pay EME’s creditors 50% of the amount of EME’s $1.2 billion in unused “tax
   16 attributes” (plus interest on deferred payments) in the aggregate amount of $634
   17 million. ¶¶ 108, 109. Plaintiff alleges that “[a]s a consequence of unlawfully
   18 depleting EME by the Dividends and the Tax Sharing Payment, EIX had no choice
   19 but to agree to the Settlement Agreement, which now mandates EIX to share EME’s
   20 $1.2 billion tax benefits on a 50/50 basis with the [EME] Reorganization Trust
   21 resulting in a payment of $634 million to EME’s creditors.” ¶111.
   22                Based on these allegations of the dividend and tax sharing payments, Plaintiff
   23 brings this lawsuit as a derivative action on behalf of Nominal Defendant EIX,
   24 alleging the individual Defendants “breached their fiduciary duties of loyalty and
   25 good faith by knowingly engaging in the illicit scheme against EME alleged herein,”
   26 which allegedly has caused EIX to sustain damages. ¶¶ 1, 15, 117, 118, 123-126.
   27 III.           ARGUMENT.
   28                “A shareholder derivative suit is a uniquely equitable remedy in which a
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    1 shareholder asserts on behalf of a corporation a claim belonging not to the
    2 shareholder, but to the corporation.” Laborers’ Local v. Intersil, 868 F.Supp. 2d
    3 838, 844 (N.D. Cal. 2012). “To accommodate the unique nature of a derivative
    4 action, while still permitting the individual shareholder to protect the interests of the
    5 corporation, ‘equity courts established as a precondition . . . that the shareholder
    6 demonstrate “that the corporation itself had refused to proceed after suitable
    7 demand, unless excused by extraordinary conditions.”’” In re Amer. Apparel, Inc.
    8 Shareholder Deriv. Litig., 2012 WL 9506072, at *20 (C.D. Cal. July, 31, 2012)
    9 (Morrow, J.) (quoting Kamen v. Kemper Fin. Servs., Inc., 500 U.S. 90, 96 (1991)
   10 (quoting Ross v. Bernhard, 396 U.S. 531, 534 (1970))). This “precondition” for a
   11 derivative lawsuit is set forth in F.R.Civ.P. Rule 23.1.
   12         “Federal Rule of Civil Procedure 23.1(a) imposes a heightened pleading
   13 standard when ‘one or more shareholders or members of a corporation or an
   14 unincorporated association bring a derivative action to enforce a right that the
   15 corporation or association may properly assert but has failed to enforce.’” Iron
   16 Workers Local No. 25, etc., v. Bogart, 2012 WL 2160436, at *2 (N.D. Cal. June 13,
   17 2012) (quoting Rule 23.1). Rule 23.1 requires that “‘[a] shareholder seeking to
   18 vindicate the interests of a corporation through a derivative suit must first demand
   19 action from the corporation’s directors or plead with particularity the reasons why
   20 such demand would have been futile.” Farrell, 2007 WL 5255035, at *3 (quoting
   21 Silicon Graphics, 183 F.3d at 989).
   22         When a plaintiff has not made a pre-suit demand and the complaint fails
   23 adequately to plead “futility,” the complaint should be dismissed “with prejudice.”
   24 Lucas v. Lewis, 428 Fed. Appx. 694, 696 (9th Cir. 2011) (“Because Lucas has not
   25 satisfied the demand requirements prior to filing suit, the district court’s decision to
   26 dismiss with prejudice was appropriate.”); Silicon Graphics, 183 F.3d at 991 (Where
   27 “it is clear that [plaintiff] could not have amended his complaint to show that it
   28 would have been futile to make a demand upon the directors, . . . dismissal with
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    1 prejudice was appropriate.”)
    2         Plaintiff does not allege that she made a demand on EIX’s board of directors
    3 before bringing this lawsuit, asserting a demand would have been “futile.” ¶120.
    4 Therefore, the question to be decided on this motion is if Plaintiff has pled “with
    5 particularity” facts showing that a pre-suit demand on EIX’s board of directors
    6 would have been “futile,” so that her failure to have made a demand is excused.
    7         Although Rule 23.1 governs a derivative suit filed in federal court, it “does
    8 not establish the circumstances under which demand would be futile.” Farrell, 2007
    9 WL 5255035, at *3. “For these standards, the Court turns to the law of the state of
   10 incorporation” of the nominal defendant. Id. EIX is a California corporation (¶20),
   11 “so California state law establishes the circumstances under which demand would
   12 be futile.” In re Asyst Tech., Inc. Deriv. Litig., 2008 WL 2169021, at *2 (N.D. Cal.
   13 May 23, 2008). However, California courts recognize that California law “is
   14 identical to Delaware law on the demand requirement.” Potter, 546 F.3d at 1057.
   15 Therefore, “California courts “find instructive certain cases decided in Delaware . . .
   16 on the subjects of shareholder derivative suits and demand futility.” Bader v.
   17 Anderson, 179 Cal.App.4th 775, 791 n.5 (2009).
   18         A.    The Standard For Pleading “Demand Futility”.
   19         “The ‘key principle’ underlying judicial analysis of a pleading asserting a
   20 derivative action is ‘that the directors are entitled to a presumption that they were
   21 faithful to their fiduciary duties.’” Leyte-Vidal v. Semel, 220 Cal.App.4th 1001,
   22 1008-09 (2013) (quoting Beam, etc. v. Stewart, 845 A.2d 1040, 1048 (Del. 2004)).
   23 “The purpose of pre-suit demand is to [en]sure that the stockholder affords the
   24 corporation the opportunity to address an alleged wrong without litigation, to decide
   25 whether to invest the resources of the corporation in litigation, and to control any
   26 litigation [that] does occur.” Id. at 1009 (internal quotes and citation omitted;
   27 bracketed text original). For this reason, the requirement that a derivative plaintiff
   28 make a demand is excused only under “extraordinary conditions.” Bader, 179
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    1 Cal.App.4th at 789 (internal quotes and citation omitted). A determination that a
    2 plaintiff has failed to allege facts showing a demand would have been “futile” is
    3 reviewed under an “abuse of discretion” standard. Potter, 546 F.3d at 1056.
    4                [D]emand futility must be determined on a claim-by-claim basis.” Taylor v.
    5 Kissner, 893 F.Supp.2d 659, 666 (D. Del. 2012). The test for whether a plaintiff has
    6 pled particularized facts showing demand futility depends on the nature of the claim
    7 alleged. If the claim challenges “contested board action with respect to a specific
    8 transaction or conscious business decision,” the “Aronson” test applies. Hartsel v.
    9 Vanguard Group, Inc., 2011 WL 2421003, at *20 (Del. Ch. June 15, 2011) (citing
   10 Aronson v. Lewis, 473 A.2d 805 (Del. 1984), overruled on other grounds by Brehm
   11 v. Eisner, 746 A.2d 244 (Del. 2000)), aff’d, 38 A.3d 1254 (Del. 2012). See Rales v.
   12 Blasband, 634 A.2d 927, 933 (Del. 1993) (“The essential predicate for the Aronson
   13 test is the fact that a decision of the board of directors is being challenged in the
   14 derivative suit.” (emphasis in original)). But “[a] different test applies where the
   15 directors did not make a decision.” Farrell, 2007 WL 5255035, at *3 (emphasis in
   16 original). “[W]here the subject of a derivative suit is not a board decision but rather
   17 a board’s inaction leading to a violation of its oversight duties,” the “Rales” test
   18 applies instead of the Aronson test. Hartsel, 2011 WL 2421003, at *20.
   19                The “Aronson” Test. Under the Aronson test, when a complaint alleges board
   20 approval of an allegedly improper transaction, the test for determining demand
   21 futility is whether “under the particularized facts alleged, a reasonable doubt is
   22 created that: (1) the directors are disinterested and independent, and (2) the
   23 challenged transaction was otherwise the product of a valid exercise in business
   24 judgment.” Bader, 179 Cal.App.4th at 790-91. This “two-prong test under Aronson
   25 is disjunctive.” Id. at 791 (citing Brehm, 746 A.2d at 256). As the Court explained
   26 in Charter Township, etc. v. Martin, 219 Cal.App.4th 924, 935 (2013),
   27                If a plaintiff fails to satisfy the first prong of Aronson, there is a
   28                presumption that the board’s actions were the product of a valid
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    1         exercise of business judgment. [ ] Under the second prong of Aronson,
    2         plaintiffs must plead particularized facts sufficient to raise (1) a reason
    3         to doubt that the action was taken honestly and in good faith or (2) a
    4         reason to doubt that the board was adequately informed in making the
    5         decision. (internal quotes and citations omitted.)
    6         The “Rales” Test. However, when a complaint alleges board inaction, the test
    7 is “‘whether the board that would be addressing the demand can impartially consider
    8 its merits without being influenced by improper considerations.’” Bader, 179
    9 Cal.App.4th at 791 (quoting Rales, 634 A.2d at 934)). “Thus, under Rales, to prove
   10 futility, a plaintiff must show that a majority of directors were not independent or
   11 disinterested . . . .” Farrell, 2007 WL 5255035, at *3.
   12         In this case, the “Aronson” test applies to determine if Plaintiff has adequately
   13 pled demand futility, because Plaintiff alleges that individual defendants who were
   14 EME Board members at the time of each transaction “knowingly” caused EME to
   15 make the allegedly improper dividend payments and the tax sharing payment. ¶¶
   16 15, 63, 125. See Bader, 179 Cal.App.4th at 797 (Because plaintiff’s claims are
   17 purportedly “based upon a ‘conscious decision by directors to act,’” the Aronson test
   18 applies (quoting Rales, 634 A.2d at 933)).
   19         In pleading demand futility under the Aronson test, “general, conclusory facts
   20 are insufficient.” Oakland Raiders v. Nat’l Football League, 93 Cal.App.4th 572,
   21 587 (2001). Instead, “‘the court must be apprised of facts specific to each director
   22 from which it can conclude that the particular director could or could not be
   23 expected to fairly evaluate the claims of the shareholder plaintiff.’” Potter, 546 F.3d
   24 at 1058 (quoting Shields v. Singleton, 15 Cal.App.4th 1611, 1622 (1993)). “[B]are
   25 allegations of director wrongdoing without factual support cannot excuse demand.”
   26 Shields, 15 Cal.App.4th at 1622.
   27         This lawsuit should be dismissed because Plaintiff has not pled facts showing
   28 demand futility under the Aronson test. In any event, because the first prong of the
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    1 Aronson test (whether the directors are disinterested and independent) is like the
    2 Rales test (whether the board addressing the demand can impartially consider its
    3 merits without being influenced by improper considerations), Plaintiff has not pled
    4 demand futility under either test. “[The policy justifications for each test points the
    5 Court toward a similar analysis. Under either test the Court must determine a
    6 director’s interest and independence.” Farrell, 2007 WL 5255035, at *4 n.10.
    7                B.    Plaintiff Has Not Pled Facts Showing Demand Futility.
    8                      1.    Plaintiff has not pled particularized facts showing demand
    9 futility with respect to her claim based on the dividend payments.
   10                            (a)     Plaintiff has not satisfied the first Aronson prong by
   11 alleging particularized facts showing the director defendants face a substantial
   12 likelihood of liability with respect to the dividend payments.
   13                “At the pleading stage, Board independence and compliance with the business
   14 judgment rule are presumed.” Silicon Graphics, 183 F.3d at 990. “Demand will be
   15 excused only if the plaintiff’s allegations show the defendants’ actions ‘were so
   16 egregious that a substantial likelihood of director liability exists.’” Id. (quoting
   17 Aronson, 473 A.2d at 815).
   18                Plaintiff contends that pre-suit demand should be excused for her claim based
   19 on the dividend payments because seven of the twelve EIX director defendants
   20 (Cordova, Freeman, Olson, Sutton, Nogales, Schlosberg and Craver) “are
   21 substantially likely to be held liable” for “causing EME to pay the Dividends . . . .”3
   22 ¶122(a). According to Plaintiff, these director defendants are substantially likely to
   23 be held liable because the dividend payments “were unfair to EME because it
   24 received no consideration from MEHC from this exchange” (¶63) and EME’s
   25 payment of the dividends “severely weakened EME’s financial condition.” ¶59.
   26   3
            Plaintiff makes no allegation relating to the making of the dividend payments against EIX’s five
   27 other directors at the time this action was filed: Bindra, Taylor, Chang, White and Tauscher. See
        ¶¶ 121, 122(a).
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    1                In assessing if a plaintiff has pled a “substantial likelihood of liability” to
    2 excuse pre-suit demand with respect to a transaction, “the mere threat of personal
    3 liability for approving a questioned transaction, standing alone, is insufficient to
    4 challenge either the independence or disinterestedness of directors.” Charter
    5 Township, 219 Cal.App.4th at 936 (internal quotes and citation omitted).
    6 “Therefore, ‘[a] plaintiff may not bootstrap allegations of futility’ by pleading
    7 merely that ‘the directors participated in the challenged transaction or that they
    8 would be reluctant to sue themselves.’” Bader, 179 Cal.App.4th at 793 (quoting In
    9 re Sagent Tech., Inc., Deriv. Litig., 278 F.Supp.2d 1079, 1089 (N.D. Cal. 2003)).
   10 See also Bader, 179 Cal.App.4th at 793 (“[T]he fact that the board approved the
   11 challenged transaction, of itself, does not establish demand futility under the theory
   12 that such approval ‘automatically connotes “hostile interest” and “guilty
   13 participation” by directors.’” (quoting Aronson, 473 A.2d at 814)).
   14                In addition, where a corporation’s articles of incorporation contain an
   15 exculpatory provision that “insulates its directors from liability,” “a serious threat of
   16 liability may only be found to exist if the plaintiff pleads a non-exculpated claim
   17 against the directors based on particularized facts.” Brown v. Moll, 2010 WL
   18 2898324, at *4 (N.D. Cal. July 21, 2010) (internal quotes and citation omitted).
   19 Here, EIX’s Articles of Incorporation (Defendants’ Request for Judicial Notice
   20 (“Ds’ RJN”), Ex. A), “Fifth” ¶1, state that “[t]he liability of directors of the
   21 corporation for monetary damages shall be eliminated to the fullest extent
   22 permissible under California law.”4 “California law” – Corporations Code
   23 §204(a)(10) – provides, in pertinent part, that a corporation may “eliminat[e] or
   24 limit[] the personal liability of a director for monetary damages in an action brought
   25 by or in the right of the corporation for breach of a director’s duties to the
   26
        4
   27    A court may take judicial notice of a corporation’s articles of incorporation. Rhodes v. Sutter
        Health, 2012 WL 662462, at *3 (E.D. Cal. Feb. 28, 2012).
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    1 corporation and its shareholders,” except that a director’s liability may not be
    2 eliminated or limited
    3         (i) for acts or omissions that involve intentional misconduct or a
    4         knowing and culpable violation of law, (ii) for acts or omissions that a
    5         director believes to be contrary to the best interests of the corporation
    6         or its shareholders or that involve the absence of good faith on the part
    7         of the director, (iii) for any transaction from which a director derived an
    8         improper personal benefit, (iv) for acts or omissions that show a
    9         reckless disregard for the director’s duty to the corporation or its
   10         shareholders in circumstances in which the director was aware, or
   11         should have been aware, in the ordinary course of performing a
   12         director’s duties, of a risk of serious injury to the corporation or its
   13         shareholders, (v) for acts or omissions that constitute an unexcused
   14         pattern of inattention that amounts to an abdication of the director's
   15         duty to the corporation or its shareholders, . . . .
   16         Accordingly, Plaintiff can establish that a director defendant faces a
   17 “substantial likelihood of liability” only if she has pled “particularized facts”
   18 showing such liability on a claim for which the director has not been exculpated.
   19 Brown, 2010 WL 2898324, at *4; Guttman v. Huang, 823 A.2d 492, 501 (Del. Ch.
   20 2003) (“a serious threat of liability may only be found to exist if the plaintiff pleads
   21 a non-exculpated claim against the directors based on particularized facts.”)
   22 Plaintiff has not pled facts, let alone “particularized facts,” showing the seven
   23 director defendants she identifies (¶122(a)) face a “substantial likelihood of
   24 liability” as to the dividend payments.
   25         First, Plaintiff’s allegations that EME received no consideration for its
   26 dividend payments to MEHC, and the payments benefited only MEHC, does not
   27 show these director defendants face a substantial likelihood of liability because the
   28 allegations do not support that any director of EIX (or of EME) engaged in any
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    1 misconduct.
    2                Needless to say, any dividend from a subsidiary to its owner benefits the
    3 owner rather than the subsidiary. However, except where a subsidiary is insolvent,
    4 “[w]hen one company wholly owns another, the directors of the parent and the
    5 subsidiary are obligated to manage the affairs of the subsidiary in the best interests
    6 only of the parent and its shareholders.” Aviall, Inc., v. Ryder Syst., Inc., 913
    7 F.Supp. 826, 832 (S.D.N.Y. 1996), aff’d on other grounds, 110 F.3d 892 (2d Cir.
    8 1997). “That doing so may not always involve maximizing the subsidiary’s
    9 economic value is of little concern.” In re Teleglobe Comm. Corp., 493 F.3d 345,
   10 367 (3rd Cir. 2007). As a result, “those who operate the parent company owe no
   11 fiduciary duties to the wholly-owned subsidiary.” Aviall, Inc., 913 F.Supp. at 832.
   12 Accord, Richardson v. Rel. Nat’l Indem. Co., 2000 WL 284211, at *12 (N.D. Cal.
   13 Mar. 14, 2000) (directors of a subsidiary corporation owe duty to parent corporation
   14 and its shareholders, not subsidiary). “Thus, loading debt on a solvent subsidiary to
   15 maximize the parent’s value is not a breach of fiduciary duty to the subsidiary.”
   16 Newsome v. Gallacher, 722 F.3d 1257, 1266 (10th Cir. 2013). Accord, Trenwick
   17 Am. Litig. Tr. v. Ernst & Young, L.L.P., 906 A.2d 168, 192 (Del. Ch. 2006)
   18 (rejecting claim parent corporation engages in misconduct “when a parent
   19 corporation use[s] the asset value of its wholly-owned subsidiaries to help it finance
   20 and absorb the down-side of the parent’s larger business strategy.”)
   21                These rules apply here and establish that Plaintiff has not alleged
   22 particularized facts showing that any director defendant breached any duty or could
   23 face any liability, let alone a “substantial likelihood of liability,” by allegedly
   24 causing EME to make the dividend payments to benefit EIX’s indirect subsidiary
   25 MEHC. Plaintiff has not alleged that any director faces a substantial likelihood of
   26 liability, because (among other reasons) Plaintiff has not alleged particularized facts
   27 showing that EME was “insolvent” at the time of the dividend payments in 2007.
   28                While Plaintiff at one point alleges in conclusory fashion that EME was
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    1 “insolvent” at the time of the dividend payments (¶57), she simultaneously alleges
    2 that EME was not insolvent when the payments were made. ¶4 (“nearly insolvent”),
    3 ¶64 (“on the brink of insolvency”). Moreover, plaintiff admits that even after the
    4 dividend payments EME’s public financial statements reflected total assets ($7.3
    5 billion) greatly in excess of its total liabilities ($5.3 billion). ¶55. Therefore, after
    6 the dividend payments had been made, EME still had shareholder equity of almost
    7 $2 billion, far from an “insolvent” company. While Plaintiff also alleges that in
    8 December 2006, EME had an “agreement in principle” to reduce emissions at its
    9 Midwest Generation’s Illinois plant, which would have entailed capital expenditures
   10 estimated to be in the range of $2.7 to $3.4 billion (¶54), these potential
   11 expenditures were “estimated” only and were to be incurred over a ten-year period
   12 from 2008 to 2018, with the bulk of the estimated expenditures ($2.2 to $2.9 billion)
   13 to be made well in the future between 2012 and 2018. Ds’ RJN, Ex. B (EME 2007
   14 Form 10-K) at pp. 79).5 These future, potential expenditures were not reflected as a
   15 liability on EME’s 2007 audited financial statements (id. at pp. 39-40, 110), and the
   16 audited financial statements did not include a “going concern” qualification (id. at
   17 107), as they certainly would have if EME was insolvent.6
   18                Plaintiff’s failure to plead particularized facts showing EME was insolvent at
   19 the time of these dividend payments precludes her from arguing the director
   20 defendants had any duty other than to manage EME’s assets in the interests of its
   21 parent EIX. Trenwick Am. Litig. Tr., 906 A.2d at 195 (“If a plaintiff seeks to state a
   22
        5
   23     Plaintiff references this 2007 10-K in her Amended Complaint. ¶¶ 55, 60. “On considering a
        motion to dismiss, judicial notice of the full text of documents referenced in a complaint is proper
   24   under the doctrine of incorporation by reference.” Farrell, 2007 WL 5255035, at *3. In addition,
        filings with the SEC are subject to judicial notice on a motion to dismiss. Dreiling v. American
   25   Exp. Co., 458 F.3d 942, 946 (9th Cir. 2006).
        6
   26     A “going concern” qualification is used when an auditor has “substantial doubt about the entity’s
        ability to continue as a going concern for a reasonable period of time, not to exceed one year
   27   beyond the date of the financial statements being audited . . . .” Ziemba v. Cascade Intern., Inc.,
        256 F.3d 1194, 1208 n.9 (11th Cir. 2001).
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    1 claim premised on the notion that a corporation was insolvent and that the directors
    2 of the corporation were therefore obligated to consider the corporation’s creditors,
    3 as an object of their fiduciary beneficence, the plaintiff must plead facts supporting
    4 an inference that the corporation was in fact insolvent at the relevant time.”).
    5         Second, even if a director of EIX owed some duty to EME (or its creditors)
    6 with respect to EME’s dividend payments to MEHC, Plaintiff has not alleged
    7 particularized facts showing any director faces a “substantial likelihood of liability”
    8 for having breached such a duty. “[T]o evaluate the demand futility claim, the court
    9 must be apprised of facts specific to each director from which it can conclude that
   10 the particular director could or could not be expected to fairly evaluate the claims of
   11 the shareholder plaintiff.” Potter, 546 F.3d at 1058 (internal quotes and citation
   12 omitted). “[A] plaintiff must allege with particularity that a majority of the board
   13 lacks independence or is otherwise incapable of validly exercising its business
   14 judgment.” Blaustein v. Lord Balt.Cap. Corp., 84 A.3d 954, 958 (Del. 2014).
   15         Plaintiff fails to plead particularized facts raising a reasonable doubt that any
   16 director defendant, let alone a majority of the Board, faces a substantial likelihood
   17 of liability as a result of the dividend payments. Indeed, Plaintiff does not allege
   18 facts showing involvement of any director defendant in a decision for EME to make
   19 the dividend payments or facts that any director even knew about, let alone acted in
   20 a way to bring about, the dividend payments. See, e.g., ¶57 (referring to what “EIX”
   21 allegedly “knew”); ¶63 (conclusory allegation director defendants “knowingly
   22 burdened EME with roughly $924 million in debt.”) There are also no facts alleged
   23 setting out what each EIX director knew about EME’s financial condition at the
   24 time of the dividend payments. Such “bare allegations of director wrongdoing
   25 without factual support cannot excuse demand.” Shields, 15 Cal.App.4th at 1622.
   26 See In re Verisign, Inc., Deriv. Litig., 531 F.Supp.2d 1173, 1192-93 (N.D. Cal.
   27 2007) (rejecting argument that the plaintiff’s “conclusory assertion that all the
   28 directors ‘authorized, approved, [or[ ratified’ the backdating” was sufficient to show
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    1 a majority of the directors faced a “substantial likelihood of liability.”); Silicon
    2 Graphics, 183 F.3d at 990 (“a general allegation that the Board participated in . . .
    3 [a] fraudulent scheme” is “insufficient to demonstrate that the Board engaged in
    4 conduct that resulted in a substantial risk of personal liability.”)
    5         Moreover, because Plaintiff has not alleged any facts showing any
    6 involvement by any director defendant in a decision for EME to make the dividend
    7 payments, Plaintiff certainly has not alleged particularized facts showing a
    8 substantial likelihood of director liability on the part of any director on a non-
    9 exculpated claim. See above at pp. 12:22-13:15, quoting Cal. Corp. Code
   10 §204(a)(10). For this reason as well, Plaintiff has not pled that any director faces a
   11 “substantial likelihood of personal liability” with respect to the dividend payments.
   12 Brown, 2010 WL 2898324, at *4 (internal quotes and citation omitted).
   13         Third, Plaintiff also has not alleged facts showing that any director faces a
   14 “substantial likelihood of liability” on her breach of fiduciary duties claim based on
   15 the dividend payments because any such claim is time-barred. The dividend
   16 payments were made in 2007. ¶¶ 55-59. Plaintiff did not file suit until February 11,
   17 2014. California law provides a four-year limitations period on her breach of
   18 fiduciary duties claim, which “begins to run when plaintiff[] discovered, or in the
   19 exercise of reasonable diligence could have discovered, that facts had been
   20 concealed.” In re Brocade Comm. Systems, Inc., Deriv. Litig., 615 F.Supp.2d 1018,
   21 1036-37 (N.D. Cal. 2009) (internal quotes and citation omitted).
   22         As Plaintiff’s own pleading makes clear, the facts underlying her claim that
   23 the director defendants are liable for breach of fiduciary duties based on the
   24 dividend payments – her allegations the payments were made by EME from the “net
   25 proceeds” of its own private offering and its own “cash on hand” and they were
   26 made to enable MEHC to retire its own debt (¶60), and EME’s financial condition at
   27 the time of the dividend payments (¶55) – were disclosed in EME’s fiscal year 2007
   28 form 10-K filed with the SEC in February 2008. See Ds’ RJN, Ex. B at pp. 34, 39-
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    1 40, 108-110. Plaintiff was therefore on notice of these facts no later than February
    2 2008. Menowitz v. Brown, 991 F.2d 36, 42 (2d Cir.1993) (“plaintiffs were placed on
    3 inquiry notice of their claims by the very SEC-mandated disclosure documents they
    4 rely upon in their complaints.”); In re Syntex Corp. Sec. Litig., 855 F.Supp. 1086,
    5 1099 (N.D. Cal. 1994), aff’d, 95 F.3d 922 (9th Cir. 1996) (Same, citing Menowitz).
    6 Indeed, the intent to use the proceeds from newly-issued EME bonds for a dividend
    7 to retire MEHC debt was disclosed even earlier, in public SEC filings in advance of
    8 the bond issuance in May 2007. See Ds’ RJN, Ex. C (EME Form 8-K and Exhibit
    9 99.1), filed 5/4/2007).7 As Plaintiff did not file this action until 2014, any claim
   10 based on the dividend payments is time-barred. 15 Cal.Jur.3d Corporations, §525
   11 (online database base updated Feb. 2014) (“The statute of limitations begins to run
   12 on the right of each shareholder to initiate a derivative action when the shareholder
   13 learns of facts constituting a cause of action or learns of facts that should cause a
   14 reasonable person to make an investigation that would disclose the existence of the
   15 cause of action.”)
   16                Because any fiduciary duty claim based on the dividend payments is time-
   17 barred, no director defendant faces a “substantial likelihood of liability” based on
   18 the payments. In re Keithley Instr., Inc., Deriv. Litig., 599 F.Supp.2d 875, 901
   19 (N.D. Ohio 2008) (“If, as a matter of law, based on the running of the applicable
   20 statute of limitation or repose, the individual faced no possibility of liability because
   21 any claims against the individual were time-barred, then surely the individual cannot
   22 be said to face a ‘substantial likelihood’ of liability.”); In re Verisign, Inc., Deriv.
   23 Litig., 531 F.Supp.2d at 1192 (Time-barred claim cannot be used “as a basis for
   24 alleging demand futility.)8
   25
        7
   26   This is telling not only on the statute of limitation point, but also because the purchasers of those
      billions of dollars in new bonds obviously did not believe that EME was being rendered insolvent.
   27 8 Also, although Plaintiff purports to allege only a single “Count I” for breach of fiduciary duties
   28 based on the dividend payments and the tax sharing payment, because Plaintiff’s claim based on
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    1                             (b)     Plaintiff has not satisfied the second Aronson prong by
    2 showing a reasonable doubt EME’s dividend payments were the product of a valid
    3 exercise of business judgment.
    4                Because Plaintiff cannot satisfy the Aronson test’s first prong, “there is a
    5 presumption that the board’s actions were the product of a valid exercise of business
    6 judgment.” Charter Township, 219 Cal.App.4th at 935. To overcome this
    7 presumption, “plaintiffs must plead particularized facts sufficient to raise (1) a
    8 reason to doubt that the action was taken honestly and in good faith or (2) a reason
    9 to doubt that the board was adequately informed in making the decision.” Id.
   10                For the same reasons explained above with respect to Plaintiff’s failure to
   11 plead particularized facts showing the director defendants face a substantial
   12 likelihood of liability, Plaintiff has not pled particularized facts showing either that
   13 the individual directors did not act “honestly” and or “in good faith” or they were
   14 not “adequately informed.” See Charter Township, 219 Cal.App.4th at 940 (“Our
   15 resolution of the first prong of the Aronson test also leads to rejection of plaintiffs’
   16 arguments that the Board’s conduct was not a valid exercise of business judgment.”)
   17 Because Plaintiff has not pled particularized facts showing that EME was insolvent
   18 at the time of the dividend payments – or that the director defendants knew that
   19 EME was purportedly insolvent – as set forth above, Plaintiff has not shown that the
   20 director defendants had any duty other than to act in the interests of EIX (whether or
   21 not doing so was in the financial interest of EME). Moreover, Plaintiff does not
   22 “allege that any individual defendant director personally acted without honesty and
   23 good faith.” In re J.P. Morgan Chase & Co. Shareholder Litig., 906 A.2d 808, 824
   24 (Del. Ch. 2005). In addition, nothing indicates the Board was not adequately
   25
      the dividend payments is time-barred, this aspect of Plaintiff’s claim also should also be dismissed
   26 under Rule 12(b)(6) for failure to state a claim. Lindell v. McCallum, 352 F.3d 1107, 1110 (7th
      Cir. 2003) (stating that judge can dismiss “any parts of the complaint that do not state a claim.”);
   27 Hill v. Opus Corp., 841 F.Supp.2d 1070, 1081-82 (C.D. Cal. 2011) (Morrow, J.) (dismissing parts
      of individual claims preempted by ERISA, while not dismissing other parts not preempted).
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    1 informed about the dividend payments. “The complaint fails . . . to allege facts that
    2 would indicate that the board was presented with a decision, but was not provided
    3 with information from which it could make a proper decision.” Id.
    4         Plaintiff asserts the director defendants’ alleged “decision to cause EIX to
    5 unlawfully deplete EME by the Dividends . . . was not, and could not possibly have
    6 been, the product of a good faith exercise of business judgment” (¶116), but no facts
    7 are pled supporting this assertion. Where a plaintiff “has not pleaded with
    8 particularity facts showing that the Board approved, acquiesced in, or otherwise
    9 supported” an allegedly wrongful transaction, a court “must presume that the Board
   10 had a legitimate business purpose . . . .” Silicon Graphics, 183 F.3d at 990. Plaintiff
   11 has “failed to raise a reasonable doubt as to the soundness of the Board's business
   12 judgment,” and Plaintiff is “not excused from the pre-suit demand.” Id. at 991.
   13                                          * * * *
   14         In sum, because Plaintiff has “failed to allege facts excusing pre-suit demand
   15 on the Board with allegations of particularized facts showing wrongdoing by a
   16 majority of directors on a director-by-director basis” (Charter Township, 219
   17 Cal.App.4th at 928), Plaintiff has not shown demand should be excused with respect
   18 to Plaintiff’s breach of fiduciary duties claim based on the dividend payments.
   19                2.    Plaintiff has not pled particularized facts showing demand
   20 futility with respect to her claim based on the tax sharing payment.
   21                      (a)     Plaintiff has not satisfied the first Aronson prong by
   22 alleging particularized facts showing the director defendants face a substantial
   23 likelihood of liability with respect to the tax sharing payment.
   24         Plaintiff alleges the director defendants “are substantially likely to be held
   25 liable” for “causing EME to make the Tax Sharing Payment . . . .” (¶122(b)). But
   26 she does not allege facts, let alone particularized facts, to support this assertion.
   27         First, while Plaintiff alleges that “[i]n causing SCE to receive the improper
   28 Tax Sharing Payment,” the director defendants “consciously disregarded their
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    1 responsibilities” (¶122(d)), she does not allege any facts showing any involvement
    2 by each director in a decision for EME to make the payment, so that a director could
    3 have any liability for the payment. See ¶79 (alleging only “[i]t is reasonable to
    4 assume that the improper Tax Sharing Payment was discussed by the [EIX] Board in
    5 the months leading up to the payment.”)
    6         Second, while Plaintiff also asserts in conclusory fashion that EME’s $183
    7 million tax sharing payment was “improper” (e.g., ¶90), she does not allege any
    8 facts to support that the payment EME made was not actually due and owing from
    9 EME under the tax sharing agreements. Indeed, over a year in advance of this
   10 September 2012 tax sharing payment, EME’s fiscal year 2010 10-K filed with the
   11 SEC February 28, 2011, stated this payment would be made in 2012. Ds’ RJN, Ex.
   12 D at p. 57 (“EME expects to make tax-allocation payments in 2012 . . . .”) EME’s
   13 fiscal year 2011 10-K filed with the SEC February 29, 2012, reiterated this
   14 statement and estimated the payment amount at $185 million. Id., Ex. E at p. 20.
   15 Moreover, while Plaintiff alleges the proposed complaint by EME’s Creditors’
   16 Committee sought repayment of this tax sharing payment (¶100), she ignores that
   17 the basis of the Committee’s demand for repayment was its assertion of a breach of
   18 fiduciary duty based on a disagreement about the proper contractual interpretation of
   19 the tax sharing agreements. See Ds’ RJN, Ex. F at ¶164 (asserting the allegedly
   20 proper interpretation of “Section 7 of the Master Tax Sharing Agreement” did not
   21 support making of tax sharing payment by EME.) A disagreement about the
   22 interpretation of the tax sharing agreements, much less one that fails to show
   23 anything wrong about EIX’s interpretation, does not provide particularized facts
   24 showing that the director defendants face a “substantial likelihood of liability.” for
   25 purported breach of fiduciary duties through EME’s making the tax sharing
   26 payment.
   27         Third, even if Plaintiff had alleged facts showing involvement of each of the
   28 director defendants in EME’s making of the tax sharing payment and that EME’s
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    1 making of the tax sharing payment was “improper” because it was not owed by
    2 EME, Plaintiff has not alleged particularized facts based on “intentional
    3 misconduct” or any other ground showing a substantial likelihood of director
    4 liability on a non-exculpated claim under EIX’s Articles of Incorporation. See
    5 above at pp. 12:22-13:15, quoting Cal. Corp. Code §204(a)(10). For this reason as
    6 well, Plaintiff has not pled that any director defendant faces a “substantial likelihood
    7 of liability” with respect to the tax sharing payment so that pre-suit demand could be
    8 excused.
    9                      (b)     Plaintiff has not satisfied the second Aronson prong by
   10 showing a reasonable doubt EME’s tax sharing payment was the product of a valid
   11 exercise in business judgment.
   12         For the same reasons that Plaintiff has failed to plead facts showing the
   13 director defendants face a substantial likelihood of liability based on the tax sharing
   14 payment, Plaintiff has not pled particularized facts showing either the individual
   15 directors did not act “honestly” or “in good faith” or were not “adequately
   16 informed” with respect to the payment. Indeed, as set forth above, Plaintiff has not
   17 alleged facts showing any involvement by the director defendants in a decision for
   18 EME to make the tax sharing payment. See ¶79 (alleging only “[i]t is reasonable to
   19 assume the improper Tax Sharing Payment was discussed by the [EIX] Board in the
   20 months leading up to the payment.”)
   21         While Plaintiff asserts the director defendants’ alleged “decision to cause EIX
   22 to unlawfully deplete EME by . . . the Tax Sharing Payment was not, and could not
   23 possibly have been, the product of a good faith exercise of business judgment”
   24 (¶116), as set forth above, no particularized facts are pled to support this assertion,
   25 and a court therefore “must presume that the Board had a legitimate business
   26 purpose . . . .” Silicon Graphics, 183 F.3d at 990. Because Plaintiff has “failed to
   27 raise a reasonable doubt as to the soundness of the Board's business judgment,”
   28 Plaintiff is “not excused from the pre-suit demand.” Id. at 991.
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    1                                                  * * * *
    2                In sum, with respect to the tax sharing payment, Plaintiff also has “failed to
    3 allege facts excusing pre-suit demand on the Board with allegations of particularized
    4 facts showing wrongdoing by a majority of directors on a director-by-director basis”
    5 (Charter Township, 219 Cal.App.4th at 929), and Plaintiff has not shown demand
    6 should be excused for her breach of fiduciary duties claim based on the payment.
    7                      3.     Plaintiff has not alleged facts to support demand should be
    8 excused because the director defendants were named in the Creditors Committee’s
    9 draft complaint or because of the “settlement” EIX entered into.
   10                Plaintiff asserts (¶122(c)) the director defendants “face additional substantial
   11 likelihood of liability” and are “conflicted” because “they were named defendants in
   12 the proposed action the Creditors Committee sought to bring on behalf of EME”
   13 “which EIX was forced to settle for . . . a payment of $634 million.” But Plaintiff
   14 does not explain how this assertion supports excusing demand for Plaintiff’s breach
   15 of fiduciary duties claim based on the dividend or the tax sharing payments.
   16                As shown above, Plaintiff has not pled particularized facts to support that the
   17 director defendants face a substantial likelihood of liability in connection with these
   18 payments, and the fact that the dividend payments and the tax sharing payment are a
   19 subject of the Creditors’ Committee draft complaint does not remedy this failure.
   20 Plaintiff also provides no explanation for her assertion that pre-suit demand in this
   21 action should be excused on the basis of a prior draft complaint that was never filed
   22 or litigated. Moreover, while Plaintiff alleges EIX’s agreement to pay $634 million
   23 in a settlement with “EME and a majority of EME’s creditors” (¶104), Plaintiff does
   24 not allege this settlement breached any fiduciary duty owed by EIX’s directors or
   25 that the payment or settlement generally gives rise to a “substantial likelihood of
   26 liability” on the part of any director.9 In short, Plaintiff’s references to the Creditor
   27
        9
   28       Plaintiff asserts in conclusory fashion that under the tax sharing agreements EIX had the
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    1 Committee’s draft complaint and to the settlement does not support excusal of pre-
    2 suit demand for Plaintiff’s breach of fiduciary duties claims.
    3                      4.     Plaintiff has not alleged facts showing either director
    4 defendant Craver or Olson is not independent and, even if she had, it would not
    5 support demand should be excused.
    6                Plaintiff also asserts director defendants Olson and Craver “lack[]
    7 independence” from the other directors of EIX. As to Mr. Craver, Plaintiff alleges
    8 “in his position as EIX’s Chairman, President and CEO,” he “stands to earn millions
    9 of dollars in annual salary, bonuses and other compensation, all of which must be
   10 approved by the Company’s current Compensation Committee comprised of
   11 defendants Chang, Nogales, Taylor and White” and he “therefore lacks
   12 independence from these directors.” ¶122(e). As to Mr. Olson, Plaintiff alleges that
   13 because he is a partner of Munger, Tolles & Olson, “which provides legal services
   14 to the EIX companies” and, according to Plaintiff, the firm receives fees for legal
   15 services of “millions of dollars a year,” Mr. Olson “lacks independence from the
   16 other directors of EIX.” ¶122(f). There is no support for Plaintiff’s assertions.
   17                “‘Independence’ exists when a director’s decision is based on ‘the corporate
   18 merits of the subject before the board’ rather than on ‘extraneous considerations or
   19 influences.’” In re Sagent Tech., Inc., Deriv. Litig., 278 F.Supp.2d at 1088 (quoting
   20 Aronson, 473 A.2d at 816). A claim of lack of director independence must be
   21 supported by “particularized allegations.” Id. Plaintiff alleges no benefit or
   22 compensation to Mr. Craver or to Mr. Olson upon “which the director[s] . . . [are] so
   23 dependent . . . that its threatened loss might create a reason to question whether the
   24 director is able to consider” the merits of a demand objectively. Telxon Corp. v.
   25 Meyerson, 802 A.2d 257, 264 (Del. 2002). Thus, as to Mr. Craver, “Plaintiff has not
   26
        authority to use EME’s $1.2 billion in tax attributes without having to make any payment to EME.
   27 ¶110. But Plaintiff ignores that she also alleges that the tax sharing agreements had been
        terminated. ¶89.
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    1 alleged any particularized facts creating a reasonable inference that . . . [he is] so
    2 influenced by the compensation committee members that . . . [he] could not consider
    3 the corporate merits of Plaintiff's demand.” Richardson v.Ulsh, 2007 WL 2713050,
    4 at *15 (D. N.J. Sept. 13, 2007). As to Mr. Olson, “[a] director’s association with a
    5 company that does business with the corporation does not in and of itself establish a
    6 lack of independence.” Katz v. Chevron Corp., 22 Cal.App.4th 1352, 1368 (1994).
    7 Moreover, even if Plaintiff had pled particularized facts showing that Mr. Olson or
    8 Mr. Craver was not “independent,” Plaintiff has not shown that the other ten
    9 members of EIX’s board of directors are not independent, with the ability to make a
   10 “disinterested” and “independent” decision if Plaintiff had made the required pre-
   11 suit demand. Kernaghan v. Franklin, 2008 WL 4450268, at *9 (S.D.N.Y. Sept. 29,
   12 2008) (“[E]ven if a reasonable doubt is raised with respect to . . . [the independence
   13 of two directors], there are insufficient particularized allegations that would
   14 implicate the independence of any other director-Defendant.” (footnote omitted.))
   15 IV.            CONCLUSION.
   16                Plaintiff has failed to allege particularized facts showing that her failure to
   17 have made a pre-suit demand should be excused as “futile.” In addition, to the
   18 extent Plaintiff’s claim is based on the allegedly improper dividend payments, it is
   19 time-barred. The Amended Complaint and this action should therefore be dismissed
   20 “with prejudice.” Lucas v. Lewis, 428 Fed. Appx. at 696.
   21 Dated: May 9, 2014                            Respectfully submitted,
                                                    MUNGER, TOLLES & OLSON LLP
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   23
                                                    By:                /s/John W. Spiegel
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                                                                        John W. Spiegel
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                                                    Attorneys for Defendants
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